                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

ROBERT TERRACINO and                        )
BRADIE TERRACINO,                           )
                                            )
       Plaintiffs,                          )
                                            )
       v.                                   )       Civil Action No.: 5:22-CV-15-FL
                                            )
TRIMACO, INC., f/k/a TRIMACO, LLC           )
     and                                    )       JURY TRIAL DEMANDED
CHARLES COBAUGH,                            )
     and                                    )
DAVID C. MAY,                               )
                                            )
       Defendants.                          )

                              FIRST AMENDED COMPLAINT

       Plaintiffs Robert and Bradie Terracino (“Plaintiffs” or “Terracinos”), through their

undersigned counsel, and for their Complaint against defendants Trimaco, Inc. f/k/a Trimaco, LLC

(“Trimaco”), Charles Cobaugh (“Cobaugh”), and David C. May (“May,” and each of May,

Trimaco, and Cobaugh a “Defendant,” and collectively the “Defendants”), allege as follows:

                                NATURE OF THE ACTION

       1.      This is a civil action for violations of the federal Defend Trade Secrets Act (18

U.S.C. § 1831 et seq.), patent infringement under 35 U.S.C. § 271, violations of North Carolina’s

Unfair and Deceptive Trade Practices Act, breach of contract, fraud in the inducement, and civil

conspiracy.

       2.      Plaintiffs’ claims arise out of actions wherein Defendants engaged in a scheme to

steal the business and intellectual property from a small growing company. Specifically, the

Defendants fraudulently induced the Terracinos to enter an unconscionable patent license




                                                1
            Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 1 of 21
agreement (the “Agreement”), while knowingly paying far below market royalty rates solely to

gain their trust and to learn their intellectual property.

        3.      Defendants also copied the Terracinos’s patented invention, filed a separate U.S.

patent application claiming the Terracinos’s invention, and terminated the license with the

Terracinos once Trimaco received a separate U.S. Patent for a manufacturing method also invented

by the Terracinos.

        4.      Defendants further wronged the Terracinos by filing for patent protection for the

Terracinos’s invention without their knowledge and without naming the Terracinos as inventors.

        5.      By and through the manufacture and sales of, at least, Trimaco’s “Stay Put” canvas

drop cloths, Trimaco has breached the Agreement with the Terracinos and is infringing upon the

Terracinos’ patent.

        6.      The Terracinos are seeking injunctive and monetary relief.

                                              PARTIES

        7.      Plaintiff Robert Terracino is an individual who is currently a resident of Virginia

Beach, Virginia.

        8.      Plaintiff Bradie Terracino is an individual who is currently a resident of Virginia

Beach, Virginia.

        9.      Defendant Trimaco Inc. (“Trimaco”), formerly known as 2300 Gateway, Inc., is an

Ohio Corporation with its Principal Office located at 2300 Gateway Centre Blvd., Suite 200,

Morrisville, North Carolina, 27560. In addition to its Principle Office, Trimaco has offices located

in St. Louis, Missouri and Surprise, Arizona. It also owns and operates manufacturing plants in

Surprise, Arizona; Manning, South Carolina; Ridgefield, Washington; and Elk Grove Village,




                                                    2
             Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 2 of 21
Illinois. Trimaco has additional affiliated entities that may also be liable and will be added if

necessary.

       10.     Defendant Charles Cobaugh is an individual, and the owner of Trimaco, Inc. as

well as other related entities. Cobaugh in his individual capacity has availed himself of the

jurisdiction of this Court as some or all of the actions taken by him to fraudulently induce the

Terracinos to enter into the License Agreement were made in this jurisdiction.

       11.     Defendant David C. May is an individual residing in North Carolina, a co-owner

and the Vice President and Southeast Regional Sales Manager of Trimaco. May is a named

inventor on the patent application filed by Trimaco claiming the Terracinos’s invention.

                                JURISDICTION AND VENUE

       12.     The Court has jurisdiction to hear this matter as the claims herein arise from

Trimaco transacting business in and infringing Terracinos’ patent in this jurisdiction. This Court

also has personal jurisdiction over Trimaco as Trimaco’s corporate headquarters and Principle

Office are located in Wake County at 2300 Gateway Centre Blvd., Suite 200, Morrisville, North

Carolina 27560. Trimaco is also a foreign corporation registered with the North Carolina Secretary

of State to do business in this jurisdiction, and has therefore availed itself to the laws and

protections of the State of North Carolina. Accordingly, this Court has jurisdiction over Trimaco,

and venue in this District is proper under 28 U.S.C. § 1400(b).

       13.     Jurisdiction and venue are also proper in this jurisdiction as to Trimaco as the

misrepresentations inducing the Terracinos to enter into the Agreement at issue were made by a

corporate officer located in the Trimaco corporate headquarters in this District. The trade secrets

were misappropriated by Trimaco in North Carolina, were communicated to that same corporate




                                                3
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 3 of 21
officer located at the Trimaco corporate headquarters, and the trade secrets were appropriated by

Trimaco in this District for a patent application that matured into an issued patent.

        14.     By and through those same actions taking place in the Eastern District of North

Carolina, the Agreement was breached, and the civil conspiracy was enacted. This Court has

pendant jurisdiction over the North Carolina claims for violations of the North Carolina Trade

Secrets Protection Act (N.C. Gen. Stat. § 66-152 et seq.), the North Carolina Unfair and Deceptive

Trade Practices Act (N.C. Gen. Stat. § 75-1.1 et seq.), and the North Carolina common law claim

for civil conspiracy.

                                  FACTUAL BACKGROUND

              The Terracinos’s Patent and Formation of the License Agreement

        15.     Plaintiffs Robert and Bradie Terracino (the “Terracinos”) are a couple living in

Virginia Beach, Virginia. Robert Terracino retired from a painting business.

        16.     As a result of their experience with painting and painting related technology, the

Terracinos developed a layered drop cloth that in addition to providing protection for floors and

other surfaces also provides a bottom surface creating high friction allowing the drop cloth to

protect a floor or other surface without slipping and without harming the surface on which the

drop cloth is utilized.

        17.     The Terracinos filed a patent application directed to this first invention, and were

ultimately issued U.S. Patent No. 9,044,917 on June 2, 2015 directed to their “Non-Skid

Protective Cloth or Pad” (“the ‘917 patent”). The ‘917 Patent is valid and enforceable. A true

and correct copy of the ‘917 patent is attached as Exhibit 1.




                                                  4
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 4 of 21
       18.        Seeking to monetize their invention, the Terracinos began confidential discussions

with Cobaugh, the owner of Trimaco, regarding their patented invention and the possibility of

Trimaco manufacturing and selling their invention.

       19.        After speaking with Cobaugh on June 18, 2015, the Terracinos sent images,

video, and a sample of the invention to Cobaugh demonstrating their patented drop cloth (the

“Drop cloth”).

       20.        At least one element of the invention, the non-skid bottom layer, was a new

concept to Cobaugh and he admitted to the Terracinos that he had no idea where he would obtain

the material.

       21.        The Terracinos, with the understanding that doing so would be confidential and

subject to the formation and execution of the Agreement being negotiated, provided Cobaugh

with the information needed to obtain the material to create the non-skid bottom layer.

       22.        Cobaugh indicated to the Terracinos that he would manufacture numerous sizes of

versions of the Drop Cloth on the Terracinos’s behalf, and that he would market it globally.

       23.        From June through October, 2015, the Terracinos continued conversations with

Cobaugh related to their invention for the purpose of, among other things, licensing their

invention to Trimaco.

       24.        Cobaugh enticed the Terracinos to enter into the Agreement by telling them, on

October 26, 2015 in an email that “I think we could sell at least $1 million dollars by the end of

1½ - 2 years and then double that in 4-5 years.” In that same email, Cobaugh advised that

Trimaco would have its attorney draft the Agreement and did, in fact, provide the Agreement to

the Terracinos.




                                                  5
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 5 of 21
       25.     Cobaugh also represented to the Terracinos that the royalties would include sales

outside of the United States.

       26.     Cobaugh proposed a 5-year license to the Terracinos with a 2% royalty rate.

       27.     A 2% royalty rate was far below what the industry norms would provide for and

less than the royalty rates that he told the Terracinos Trimaco typically paid (3-5%). Cobaugh

represented that the lower rate was justified because the Trimaco product would technically not

infringe the Terracinos’s patent, and therefore no royalty payment was actually required at all.

Cobaugh made this representation knowing it was false.

       28.     Cobaugh also advised the Terracinos that their royalty rate would be a percentage

of Trimaco’s net sales, which he defined as “[g]ross sales less all customer givebacks and

prepaid freight i.e. what we net out of the sale.”

       29.     Despite Cobaugh’s assertions of what the “net sales” were, the Agreement itself,

however, states that net sales are “[Trimaco’s] gross sales less outbound freight, sales

commissions, and other customer givebacks such as COOP, rebates, and other allowances and,

further, less any bona fide returns (net of all returns actually made or allowed as supported by

credit memoranda actually issued to the customers) up to the amount of the actual sales of

Royalty-Bearing Products during the Royalty Period.” Because the Terracinos’s royalty is based

upon “net sales,” Cobaugh’s misrepresentations as to net sales were directed at a material term of

the Agreement.

       30.     Upon receiving the Agreement from Trimaco, the Terracinos reminded Cobaugh

that the proposed royalty rate was lower than what he had indicated as typical royalty rates paid

by Trimaco. Cobaugh responded by offering two options: first, the 2% royalty on net sales for 5




                                                     6
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 6 of 21
years; or two, a $10,000.00 up front fee plus the 2% royalty over 5 years but Trimaco would own

the Terracinos’s Patent.

       31.       Despite that, Cobaugh followed up on October 29, 2015, claiming that “your

patent doesn’t apply to us since it has to do with sewing the backing on to the cloth (which we

are not doing). Therefore, we do not want the patent so option 2 is not a good offer. In good

faith, however, we will still agree to honor the 2% royalty for 5 years, and I hope we sell millions

of $’s of these so that your royalty will be a big number.” That was a false statement of material

fact as the Stay Put drop cloth manufactured, imported, and sold by Trimaco within the United

States and worldwide does, in fact, infringe the Terracinos’s patent.

       32.       The Terracinos do not own a large business and are unsophisticated when it

comes to patent license agreements; they did not understand that the proposed royalty rate was

significantly lower than market rates for similar technologies and that they were entitled to more.

They relied on the false material representations from one or more Defendants.

       33.       Market rates for similar technologies are two to four times the royalty rate offered

to the Terracinos.

       34.       By enticing the Terracinos with the threat of Trimaco manufacturing and selling

Drop Cloths that as a matter of material fact infringe upon the Terracinos’s ‘917 patent but

convincing them otherwise, Trimaco and Cobaugh fraudulently induced the Terracinos into

entering into the Agreement. The statement by Cobaugh was a false statement of a present

material fact.

       35.       A true and correct copy of the Agreement as ratified by the Terracinos is attached

as Exhibit 2.




                                                  7
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 7 of 21
       36.     Although the Agreement provides that the Terracinos are entitled to a royalty

based upon net sales of the invention, the Agreement provides them with no ability to

meaningfully audit or monitor the royalty payments.

       37.     Section 4.A. of the Agreement provides, in part, that “[i]n no event shall [the

Terracinos] have the right to examine information with respect to [Trimaco’s] costs, pricing

formulas, or percentages of markup.”

       38.     Section 4.A. is unconscionable as it leaves the Terracinos with no way to

determine, even upon inspection of what information § 4.A. of the Agreement provides, what the

royalty paid to them was based upon.

       39.     Cobaugh told the Terracinos in October of 2015 that their royalty would be 2% of

Trimaco’s “net” which he defined as follows: “[g]ross sales less all customer givebacks and

prepaid freight ie what we net out of the sale. If we sell something for $1 and we pay the freight

carrier 8 cents and the customer deducts 12 cents for coop and rebates and warehouse

allowances, then we net 80 cents out of that sale transaction.”

       40.     The Terracinos relied upon that representation when entering into the Agreement.

       41.     Despite that reassurance, the Agreement provided that “sales commissions” would

also be deducted from the gross sales.

       42.     Trimaco further provided in the Agreement that Trimaco had the unilateral power

to terminate the Agreement at any time. Agreement, § 6.C.

       43.     The Terracinos ratified the Agreement on February 10, 2016.

       44.     On June 25, 2018, the Agreement was assigned to 2300 Gateway, Inc. See

Assignment and Assumption Agreement attached as Exhibit 3.




                                                 8
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 8 of 21
       45.     Trimaco gave notice on February 10, 2021 of its intent to terminate the

Agreement. See Termination Letter attached as Exhibit 4.

       46.     Until the termination letter was sent, the Terracinos were entirely dependent upon

the licensing royalties for income.

          Defendants Misappropriated the Terracinos’s Intellectual Property and
Filed for US and Foreign Patent Protection of the Terracinos’s Invention Without Naming
                                     the Terracinos

       47.     During discussions leading up to the formation of the Agreement, the Terracinos

provided Cobaugh with proprietary information related to the design, structure, and manufacture

of the Drop Cloths, understanding that doing so was part of and subject to the formation of the

Agreement and done so confidentially

       48.     Cobaugh promised that, as part of their agreement, he and Trimaco would prepare

and file a patent application naming the Terracinos as co-inventors that would include the

Terracinos’s follow-on invention of providing a middle, impervious layer to the Drop Cloth.

       49.     Without the Terracinos’s knowledge, however, Cobaugh and Trimaco had been

working behind the scenes to file their own patent application capturing, in whole or in part, the

inventive material the Terracinos provided to Trimaco, Cobaugh, and David May (“May”). That

patent application, U.S. Provisional Pat. App. No. 62/249,806 for “Slip-Resistant Protective

Mat” was filed on November 2, 2015 (“the ‘806 application”), just four days after Cobaugh told

the Terracinos that the Stay Put drop cloths did not infringe the 917 Patent. The ‘806 application

did not name the Terracinos as inventors or co-inventors.

       50.     The ‘806 application and the subsequent applications and patents enumerated

below all list David May as the first named inventor.

       51.     Despite having already filed the ‘806 application claiming the elements of what

was actually the Terracinos’s invention, in a conversation on November 3, 2015 between the

                                                 9
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 9 of 21
Terracinos and Cobaugh, Cobaugh again discussed filing a patent application naming the

Terracinos as inventors with claims that had already been filed in the ‘806 application,

withholding the material fact that Trimaco had already filed the ‘806 application.

       52.     The Terracinos did not discover the filing of the ‘806 application until they

received notice from Trimaco that it was terminating the Agreement.

       53.     Had the defendants not fraudulently concealed their scheme to file their own

patents and not name the Terracinos as inventors, the Terracinos would not have entered the

Agreement.

       54.     Trimaco subsequently filed Patent Cooperation Treaty (PCT) Application No.

PCT/US2016/060109 (the “PCT Application”) on November 2, 2016, claiming the benefit of the

‘806 application but again failing to name the Terracinos as inventors or co-inventors and

without providing notice to the Terracinos. The PCT Application was subsequently nationalized

in the United States as U.S. Pat. App. No. 15/770,913, filed on April 25, 2018 (“the ’913”

Application”). A true and correct copy of the file wrapper for the PCT application is attached as

Exhibit 5.

       55.     The ‘913 Application subsequently issued as U.S. Pat. No. 10,683,607 on June

16, 2020, a true and correct copy of which is attached as Exhibit 6.

       56.     Trimaco also extended the PCT Application into Great Britain (App. No.

GB2557836, currently pending) and China (App. No. CN108698359, currently pending).

       57.     The claims as filed in the PCT Application and the ‘913 Application included the

elements described and claimed in the Terracinos’s patent. Specifically, the ‘913 Application

and the issued ‘607 patent specifically state in the specification that “in some embodiments, the

first layer, the second layer, and the third layer are connected through a first process and a



                                                 10
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 10 of 21
second process that is different from the first process. In some embodiments, the first process is

lamination and the second process is stitching.”

       58.     In addition, the claims as filed with the ‘806 provisional application include the

use of stitching in fastening the layers of the Terracino Drop Cloth despite Cobaugh’s claim that

Trimaco’s product (embodied in the application) did not infringe because it did not include

stitching. See Exhibit 5, p. 36 claim 11. The infringing drop cloth has been and continues to be

manufactured and sold with stitching.

       59.     Rather than properly marking the Drop Cloth with the Terracinos’s patent,

Trimaco marked the Drop Cloth packaging with “Patent Pending,” referencing the pending

application(s) filed by Trimaco.

       60.     To this day, the Stay-Put drop cloth as manufactured, imported, and sold by

Trimaco infringes each and every element of at least one claim of the ‘917 Patent. See Opinion

Regarding Infringement of U.S. Patent No. 9,044,917 B1, attached as Exhibit 7. Trimaco

continues to manufacture, cause to be manufactured, import, export, and sell the infringing Stay

Put drop cloths not only in the United States but globally as well.

       61.     Trimaco makes and sells the Stay Put drop cloths in two versions-both of which

infringe the ’917 Patent; the Stay Put Canvas with a canvas layer and a surface grip layer, and

the Stay Put Canvas Plus drop cloth further incorporating a liquid barrier component.

       62.     Trimaco’s infringing Stay Put products are ubiquitous and are sold, in part, by

Amazon.com, Home Depot, Lowe’s, Blain’s Farm and Fleet, MyTarp.com, Harbor Freight

Tools, Mutual Screw & Supply, W.W. Grainger, Inc. (Grainger Industrial Supply), Ace

Hardware, and Sherwin-Williams, among others.




                                                11
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 11 of 21
       63.      The Trimaco Stay Put drop cloths include each and every element of Claim 1 of

the Terracinos’s ‘917 Patent, specifically:

                a.      A non-skid protective cloth or pad;

                b.      a single, absorbent, plain woven upper layer free from any projecting cut

             pile and having an upper and a lower major surface;

                c.      a single lower, resilient layer having an upper and a lower major surface,

             said upper major surface of said single lower resilient layer being disposed adjacent

             said lower layer of said single, absorbent, woven upper layer, said lower resilient

             layer comprising a network of downward projecting bumps interconnected one to

             another by a resilient grid, said downward projecting bumps comprising bumps

             having at least two different circumferential sizes, said downward projecting bumps

             each having a height, said height of bumps having the smaller of said at least two

             different circumferential sizes being

                d.      greater than said height of bumps having said larger of said at least two

             circumferential sizes; and

                e.      stitching disposed through both said single, absorbent, upper, woven layer

             and said single lower resilient layer; whereby when said lower major surface of said

             single lower resilient layer is placed on a support surface, a Sliding Coefficient of

             Friction measured in accordance with TAPPI T548 specification is greater than

             approximately 0.75.

                                        COUNT I
                           FRAUD IN THE INDUCEMENT AGAINST
                            CHARLES COBAUGH, INDIVIDUALLY

       64.      Plaintiffs hereby reallege and incorporate by reference the allegations of preceding

paragraphs as if fully set forth herein.

                                                     12
          Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 12 of 21
       65.     Cobaugh, individually, induced the Terracinos to enter into the Agreement by

intentionally misrepresenting and concealing material facts as detailed above, including among

other things withholding the material fact that Trimaco intended to and then did file a patent

application (the ‘806 application and its progeny) claiming the Terracinos’s invention that had

been revealed to Cobaugh during the discussions leading up to the Terracinos entering into the

Agreement, and as revealed in the Terracinos’s patent. These misstatements and concealment of

material facts were intended to and did in fact deceive the Terracinos into entering the Agreement

and into disclosing their inventions and trade secrets.

       66.     Cobaugh intended the Terracinos to rely on his false representations and omissions.

Plaintiffs relied on the material false representations and intentional omissions made by Cobaugh

and in particular the intentional withholding by Cobaugh of the material fact that a patent

application claiming the Terracinos’s invention and without naming the Terracinos as inventors

had been filed a full two months prior to the Terracinos entering into the Agreement.

       67.     As a direct and proximate cause of the false representations and intentional

omissions made to them by Cobaugh, and their reliance on same, the Terracinos have been

damaged by being coerced into entering into the Agreement, the Agreement failing to provide the

Terracinos with a reasonable royalty and also locking the Terracinos into the Agreement

exclusively with Trimaco, depriving them of the ability to monetize their invention with others in

the marketplace.

       68.     The Terracinos have been damaged in an amount to be proven at trial.

       69.     The Terracinos have no adequate remedy at law for the Cobaugh’s foregoing

wrongful conduct.




                                                 13
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 13 of 21
                                   COUNT II
                  FRAUD IN THE INDUCEMENT AGAINST TRIMACO

       70.     The Terracinos hereby reallege and incorporate by reference the allegations of

preceding paragraphs as if fully set forth herein.

       71.     Trimaco, by and through Cobaugh, induced the Terracinos to enter into the

Agreement by intentionally misrepresenting and concealing material facts as detailed above,

including among other things withholding the material fact that Trimaco intended to and then did

file a patent application (the ‘806 application and its progeny) claiming the Terracinos’s invention.

These misstatements and concealment of material facts were intended to and did in fact deceive

the Terracinos into entering the Agreement and into disclosing their inventions and trades secrets.

       72.     Trimaco intended the Terracinos to rely on its false representations and omissions.

       73.     Plaintiffs relied on the false representations and intentional omissions made by

Trimaco and in particular the intentional withholding by Cobaugh of the material fact that a

patent application claiming the Terracinos’s invention and without naming the Terracinos as

inventors had been filed a full two months prior to the Terracinos entering into the Agreement.

       74.     As a direct and proximate cause of the false representations and intentional

omissions made to them by Trimaco, and the Terracinos’s reliance on the same, the Terracinos

have been damaged by being coerced into entering into the Agreement, the Agreement failing to

provide the Terracinos with a reasonable royalty and also locking the Terracinos into the

Agreement exclusively with Trimaco, depriving them of the ability to monetize their invention

with others in the marketplace.

       75.     As a result, the Terracinos have been damaged in an amount to be proven at trial.

       76.     The Terracinos have no adequate remedy at law for the Defendants’ foregoing

wrongful conduct.


                                                 14
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 14 of 21
                                 COUNT III
             IN THE ALTERNATIVE BREACH OF LICENSE AGREEMENT

       77.     The Terracinos hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       78.     The Terracinos and Defendants entered into the Patent License Agreement attached

as Exhibit 2 in 2016.

       79.     The Patent License Agreement is valid and legally binding.

       80.     Trimaco assigned its obligations under the Patent License Agreement to 2300

Gateway (see Ex. 3) on June 25, 2018.

       81.     Trimaco and/or 2300 Gateway breached the Agreement by, among other things,

failing to make the complete royalty payments to the Terracinos as required by the Agreement

under ¶ 3, misusing the Terracinos’s trade secrets and other proprietary information to file

Trimaco’s own patent application directed to the same in violation of the Agreement ¶¶ 3, 7, and

failing to give notice to the Terracinos regarding Trimaco’s patent applications directed to the

Terracinos’s invention.

       82.     As a direct result and proximate cause of Defendants’ breach, the Terracinos have

been damaged in an amount to be proven at trial.

                                 COUNT IV
 VIOLATIONS OF THE FEDERAL DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1831
               et seq., AGAINST DAVID MAY, INDIVIDUALLY

       83.     The Terracinos hereby reallege and incorporate by reference the allegations of

preceding paragraphs as if fully set forth herein.

       84.     The Terracinos had knowledge and information as detailed above that was

unknown to others, including May and Trimaco, that derived independent economic value, actual

or potential, from not being generally known to, and not being readily ascertainable through proper


                                                 15
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 15 of 21
means by, others who would exploit that disclosure for economic gain. That knowledge was related

to the construction and use of the invention as described in the Terracinos’s patent as well as

improvements thereto and as described and claimed by May and Trimaco in the ‘806 provisional

application.

       85.     At all relevant times, the Terracinos took reasonable steps to maintain the secrecy

of such information.

       86.     Understanding that May and Trimaco had a duty to maintain the secrecy of such

information and not exploit such information for their own gain, the Terracinos disclosed the

information to May and Trimaco.

       87.     May misappropriated the Terracinos’ trade secrets and used them to manufacture

and sell the Drop Cloth product in interstate commerce. The misappropriation was the direct and

proximate cause of harm to the Terracinos.

       88.     The misappropriation was not discovered and could not have been reasonably

discovered by the Terracinos until 2021.

       89.     The Terracinos have been damaged in an amount to be proven at trial.

                                COUNT V
 VIOLATIONS OF THE FEDERAL DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1831
                      et seq., AGAINST TRIMACO

       90.     Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       91.     The Terracinos had knowledge and information as detailed above that was

unknown to others, including May and Trimaco, that derived independent economic value, actual

or potential, from not being generally known to, and not being readily ascertainable through proper

means by, others who would exploit that disclosure for economic gain. That knowledge was related

to the construction and use of the invention as described in the Terracinos’s patent as well as

                                                 16
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 16 of 21
improvements thereof and as described and claimed by May and Trimaco in the ‘806 provisional

application.

       92. At all relevant times, the Terracinos took reasonable steps to maintain the secrecy

of such information.

       93.     Understanding that May and Trimaco had a duty to maintain the secrecy of such

information and not exploit such information for their own gain, the Terracinos disclosed the

information to May and Trimaco.

       94.     Trimaco misappropriated the Terracinos’ trade secrets and used them to

manufacture and sell the Drop Cloth product in interstate commerce. The misappropriation was

the direct and proximate cause of harm to the Terracinos.

       95.     The Terracinos have been damaged in an amount to be proven at trial.

                                   COUNT VI
      UNFAIR AND DECEPTIVE TRADE PRACTICES IN VIOLATION OF
NORTH CAROLINA UNFAIR AND DECEPTIVE TRADE PRACTICES ACT, N.C. Gen.
                Stat. § 75-1.1, et seq., AGAINST TRIMACO

       96.     Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       97.     At all relevant times, Trimaco is and was engaged in commerce in North Carolina

as defined by chapter 75 of the North Carolina General Statutes.

       98.     The wrongful conduct of Trimaco in commerce in at least North Carolina, as

alleged above and including at least its fraudulent inducement of the License Agreement and

intentional failure to properly mark its Drop Cloths with the Terracinos’s patent information,

affects the Terracinos rights in North Carolina and constitutes unfair and deceptive acts and

practices.



                                                 17
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 17 of 21
       99.     Trimaco’s actions and false statements were deceptive and designed to intentionally

and unfairly compete with the Terracinos. Such wrongful acts which have injured and will continue

to injure the Terracinos have resulted in, and will continue to result in damages to the Terracinos

in North Carolina and beyond.

       100.    As a direct and proximate result of this unfair and deceptive conduct, the Terracinos

have been damages and are entitled to a judgment against Trimaco for actual damages, and those

damages are to be trebled pursuant to N.C. Gen. Stat. § 75-16.

       101.    The Terracinos are also entitled to an award of attorneys’ fees pursuant to N.C.

Gen. Stat. § 75-16.1.

                              COUNT VII
     IN THE ALTERNATIVE, DECLARATORY JUDGMENT THAT THE PATENT
         LICENSE AGREEMENT IS INVALID FOR UNCONSCIONABILITY.

       102.    Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       103.    Defendants have been exercising and continue to exercise purported rights

afforded to them from the Patent License Agreement that is unconscionable and unenforceable.

       104.    By and through the actions and inactions of both Trimaco and Cobaugh, the

Terracinos are the victims of unfair bargaining in negotiating that caused them to enter into the

License Agreement without a meaningful choice and with terms that are unreasonably favorable

to Trimaco.

       105.    By and through the actions and inactions of both Trimaco and Cobaugh, the

Terracinos are subject to have unfair substantive terms contained within the License Agreement.

       106.    Trimaco exerted undue influence on the Terracinos and leveraged its unequal

bargaining power to induce the Terracinos to accept the unconscionable terms of the License

Agreement.

                                                 18
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 18 of 21
       107.    The Terracinos, as a result of the unfair bargaining and the unfair substantive

terms were left without a real, meaningful choice regarding both the existence of and the terms

of the License Agreement.

       108.    As a result, the License Agreement is unconscionable and should be found to be

invalid and unenforceable.

                                   COUNT VIII
                     PATENT INFRINGEMENT UNDER 35 U.S.C. § 271

       109.    Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       110.    The Terracinos own all right, title, and interest in U.S. Patent No. 9,044,917.

       111.    The ‘917 Patent is valid and enforceable.

       112.    By and through their actions above, Trimaco has been and continues to infringe

the ‘917 Patent by making, using, and selling its drop cloths, in particular its Stay Put and Stay

Put Plus drop cloth products, that meet each and every element of at least one claim of the ‘917

Patent, including at least each and every element of claim 1.

       113.    Trimaco has at all relevant times had actual knowledge of the ‘917 Patent.

       114.    Trimaco’s infringement has at all relevant times been and continues to be willful,

and done with the intention to illegally profit from its infringement of the Terracinos patent.

       115.    The Terracinos have sustained injury and damage caused by Defendants’ conduct.

       116.    The Terracinos have suffered, and will continue to suffer, irreparable harm from

Defendants’ acts and conduct complained of herein, unless restrained by law.

       117.    The Terracinos have been damaged in an amount to be proven at trial.

       118.    By virtue of Defendants’ actual knowledge of the 917 Patent at all relevant times,

the Terracinos are entitled to pre-suit damages.


                                                   19
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 19 of 21
                                    COUNT IX
                    CIVIL CONSPIRACY AGAINST ALL DEFENDANTS

       119.      Plaintiffs hereby reallege and incorporate by reference the allegations of the

preceding paragraphs as if fully set forth herein.

       120.      The Defendants colluded and agreed to commit the wrongful acts identified

herein, and in particular agreed, among other things, to fraudulently induce the Terracinos to

enter into the Agreement as well as inducing the Terracinos to provide confidential information

to Defendants.

       121.      Defendants May and Cobaugh each had independent personal stakes in achieving

the corporation’s illegal objective—namely, among other things, obtaining a patent for the

invention in May’s name alone, and preventing the Terracinos from directing the patent rights

stemming from the PCT Application, including the ’607 Patent.

       122.      The Defendants fraudulently convinced the Terracinos to enter into the

Agreement and provide the confidential information to the Defendants, thereby acting in

furtherance of the unlawful acts agreed to among the Defendants.

       123.      The Terracinos have sustained injury and damage caused by Defendants’ conduct.

       124.      The Terracinos have suffered, and will continue to suffer, irreparable harm from

Defendants’ acts and conduct complained of herein, unless restrained by law.

       125.      The Terracinos have been damaged in an amount to be proven at trial.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court enter judgment in Plaintiffs’ favor against

the Defendants on all counts and as follows, that the Defendants be found liable for the claims

asserted and that Plaintiffs be awarded compensatory damages, enhanced and exemplary damages

based on Defendants willful conduct and willful patent infringement, treble damages pursuant to


                                                  20
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 20 of 21
N.C. Gen. Stat. § 75-1.1 et seq.; reasonable attorneys’ fees; and such other and further relief as the

Court deems just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiffs demand trial by jury.


                                                      ROBERT TERRACINO AND
                                                      BRADIE TERRACINO

Dated: April 18, 2022
                                               By: /s/ Robert C. Van Arnam
                                               Robert C. Van Arnam (N.C. Bar No. 28838)
                                               Andrew R. Shores (N.C. Bar No. 46600)
                                               WILLIAMS MULLEN
                                               P.O. Box 1000
                                               Raleigh, NC 27602-1000
                                               Telephone: (919) 981-4000
                                               Fax: (919) 981-4300
                                               rvanarnam@williamsmullen.com
                                               ashores@williamsmullen.com

                                                      Of Counsel

                                               By: /s/ Duncan G. Byers
                                               Duncan G. Byers, Esq.
                                               Va. Bar ID #48146
                                               PATTEN, WORNOM, HATTEN & DIAMONSTEIN
                                               12350 Jefferson Avenue, Suite 300
                                               Newport News, VA 23602
                                               Telephone:    (757) 223-4500
                                               Facsimile:    (757) 249-1627
                                               dbyers@pwhd.com

                                               Counsel for the Plaintiffs,
                                               Robert and Bradie Terracino




                                                 21
         Case 5:22-cv-00015-FL Document 17 Filed 04/18/22 Page 21 of 21
